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 7
                          UNITED STATES DISTRICT COURT
 8
                        CENTRAL DISTRICT OF CALIFORNIA
 9
10
11    IN RE ETHEREUMMAX INVESTOR
      LITIGATION                               Lead Case No. 2:22-cv-00163-MWF-
12                                             SK
      This Document Relates To:
13                                             STIPULATED PROTECTIVE
            ALL ACTIONS                        ORDER
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 1           Plaintiffs Ryan Huegerich, Jonathan Semerjian, Nabil Nahlah, Till Freeman, Marko
 2     Ciklic, Tunisia Brignol, Milan Puda, Neil Shah, Michael Buckley, and Christopher
 3     DeLuca (“Plaintiffs”) together with Defendants Giovanni Perone, EMAX Holdings LLC,
 4     Kim Kardashian, Paul Pierce, Floyd Mayweather, Jr., and Jona Rechnitz (“Defendants”
 5     and, collectively with Plaintiffs, the “Parties”), through their respective counsel of record,
 6     submit this Stipulated Protective Order.
 7
 8          1. A. PURPOSES AND LIMITATIONS
 9           Discovery in this action is likely to involve production of confidential, proprietary,
10     or private information for which special protection from public disclosure and from use
11     for any purpose other than prosecuting this litigation may be warranted. Accordingly, the
12     Parties hereby stipulate to and petition the Court to enter the following Stipulated
13     Protective Order. The Parties acknowledge that this Order does not confer blanket
14     protections on all disclosures or responses to discovery and that the protection it affords
15     from public disclosure and use extends only to the limited information or items that are
16     entitled to confidential treatment under the applicable legal principles. The Parties further
17     acknowledge, as set forth in Section 12.3 (Filing Protected Material), below, that this
18     Stipulated Protective Order does not entitle them to file confidential information under
19     seal; Civil Local Rule 79-5 sets forth the procedures that must be followed and the
20     standards that will be applied when a party seeks permission from the court to file material
21     under seal.
22          B. GOOD CAUSE STATEMENT
23           This action is likely to involve disclosure of private financial and commercial
24     information, including personally identifiable information which special protection from
25     public disclosure and from use for any purpose other than prosecution of this action is
26     warranted. Such confidential and proprietary materials and information consist of, among
27     other things, confidential business and financial information, personally identifiable
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 1     information like telephone numbers, emails, and financial details, or other confidential or
 2     commercial information (including information implicating privacy rights of third
 3     parties), information otherwise generally unavailable to the public, or which may be
 4     privileged or otherwise protected from disclosure under state or federal statutes, court
 5     rules, case decisions, or common law. Accordingly, to expedite the flow of information,
 6     to facilitate the prompt resolution of disputes over confidentiality of discovery materials,
 7     to adequately protect information the parties are entitled to keep confidential, to ensure
 8     that the Parties are permitted reasonable necessary uses of such material in preparation for
 9     and in the conduct of trial, to address their handling at the end of the litigation, and serve
10     the ends of justice, a protective order for such information is justified in this matter. It is
11     the intent of the Parties that information will not be designated as confidential for tactical
12     reasons and that nothing be so designated without a good faith belief that it has been
13     maintained in a confidential, non-public manner, and there is good cause why it should
14     not be part of the public record of this case.
15           2.     DEFINITIONS
16                   2.1       Action:     Action means the above-captioned action, In re
17     EthereumMax Investor Litigation, Case No. 2:22-cv-00163-MWF-SK
18                   2.2       Challenging Party:       a Party or Non-Party that challenges the
19     designation of information or items under this Order.
20                   2.3       “CONFIDENTIAL” Information or Items: information (regardless
21     of how it is generated, stored, or maintained) or tangible things that qualify for protection
22     under Federal Rule of Civil Procedure 26(c), and as specified above in the Good Cause
23     Statement.
24                   2.4       Counsel: Outside Counsel of Record and House Counsel (as well as
25     their support staff).
26                   2.5       Designating Party: a Party or Non-Party that designates information
27     or items that it produces in disclosures or in responses to discovery as
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 1     “CONFIDENTIAL.”
 2                  2.6     Disclosure or Discovery Material:           all items or information,
 3     regardless of the medium or manner in which it is generated, stored, or maintained
 4     (including, among other things, testimony, transcripts, and tangible things), that are
 5     produced or generated in disclosures or responses to discovery in this matter.
 6                  2.7     Expert: a person with specialized knowledge or experience in a
 7     matter pertinent to the litigation who has been retained by a Party or its counsel to serve
 8     as an expert witness or as a consultant in this Action.
 9                  2.8     House Counsel: attorneys who are employees of a party to this
10     Action. House Counsel does not include Outside Counsel of Record or any other outside
11     counsel.
12                  2.9     Non-Party: any natural person, partnership, corporation, association,
13     or other legal entity not named as a Party to this action.
14                  2.10    Outside Counsel of Record: attorneys who are not employees of a
15     party to this Action but are retained to represent or advise a party to this Action and have
16     appeared in this Action on behalf of that party or are affiliated with a law firm which has
17     appeared on behalf of that party, including support staff.
18                  2.11    Party: any party to this Action, including all of its officers, directors,
19     employees, consultants, retained experts, and Outside Counsel of Record (and their
20     support staffs).
21                  2.12    Producing Party: a Party or Non-Party that produces Disclosure or
22     Discovery Material in this Action.
23                  2.13    Professional Vendors: persons or entities that provide litigation
24     support services (e.g., photocopying, videotaping, translating, preparing exhibits or
25     demonstrations, and organizing, storing, or retrieving data in any form or medium) and
26     their employees and subcontractors.
27                  2.14    Protected Material: any Disclosure or Discovery Material that is
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 1     designated as “CONFIDENTIAL.”
 2                  2.15    Receiving Party:    a Party that receives Disclosure or Discovery
 3     Material from a Producing Party.
 4          3.     SCOPE
 5           The protections conferred by this Stipulation and Order cover not only Protected
 6     Material (as defined above), but also (1) any information copied or extracted from
 7     Protected Material; (2) all copies, excerpts, summaries, or compilations of Protected
 8     Material; and (3) any testimony, conversations, or presentations by Parties or their
 9     Counsel that might reveal Protected Material.
10           Any use of Protected Material at trial shall be governed by the orders of the trial
11     judge. This Order does not govern the use of Protected Material at trial.
12          4.     DURATION
13           Even after final disposition of this litigation, the confidentiality obligations imposed
14     by this Order shall remain in effect until a Designating Party agrees otherwise in writing
15     or a court order otherwise directs. Final disposition shall be deemed to be the later of (1)
16     dismissal of all claims and defenses in this Action, with or without prejudice; and (2) final
17     judgment herein after the completion and exhaustion of all appeals, rehearings, remands,
18     trials, or reviews of this Action, including the time limits for filing any motions or
19     applications for extension of time pursuant to applicable law.
20          5.     DESIGNATING PROTECTED MATERIAL
21                  5.1     Exercise of Restraint and Care in Designating Material for Protection.
22           Each Party or Non-Party that designates information or items for protection under
23     this Order must take care to limit any such designation to specific material that qualifies
24     under the appropriate standards. The Designating Party must designate for protection only
25     those parts of material, documents, items, or oral or written communications that qualify
26     so that other portions of the material, documents, items, or communications for which
27     protection is not warranted are not swept unjustifiably within the ambit of this Order.
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 1           Mass, indiscriminate, or routinized designations are prohibited. Designations that
 2     are shown to be clearly unjustified or that have been made for an improper purpose (e.g.,
 3     to unnecessarily encumber the case development process or to impose unnecessary
 4     expenses and burdens on other parties) may expose the Designating Party to sanctions.
 5           If it comes to a Designating Party’s attention that information or items that it
 6     designated for protection do not qualify for protection, that Designating Party must
 7     promptly notify all other Parties that it is withdrawing the inapplicable designation.
 8                  5.2    Manner and Timing of Designations. Except as otherwise provided
 9     in this Order (see, e.g., second paragraph of Section 5.2(a) below), or as otherwise
10     stipulated or ordered, Disclosure or Discovery Material that qualifies for protection under
11     this Order must be clearly so designated before the material is disclosed or produced.
12     Documents, items, and/or information marked CONFIDENTIAL and/or requesting
13     confidential treatment that were produced in this Action prior to entry of this Order shall
14     be deemed Protected Material and treated in conformity with the provisions of this Order.
15           Designation in conformity with this Order requires:
16           (a) for information in documentary form (e.g., paper or electronic documents, but
17     excluding transcripts of depositions or other pretrial or trial proceedings), that the
18     Producing Party affix at a minimum, the legend “CONFIDENTIAL” (hereinafter
19     “CONFIDENTIAL legend”), to each page that contains protected material. If only a
20     portion or portions of the material on a page qualifies for protection, the Producing Party
21     also must clearly identify the protected portion(s) (e.g., by making appropriate markings
22     in the margins).
23           A Party or Non-Party that makes original documents available for inspection need
24     not designate them for protection until after the inspecting Party has indicated which
25     documents it would like copied and produced. During the inspection and before the
26     designation, all of the material made available for inspection shall be deemed
27     “CONFIDENTIAL.” After the inspecting Party has identified the documents it wants
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 1     copied and produced, the Producing Party must determine which documents, or portions
 2     thereof, qualify for protection under this Order. Then, before producing the specified
 3     documents, the Producing Party must affix the “CONFIDENTIAL legend” to each page
 4     that contains Protected Material. If only a portion or portions of the material on a page
 5     qualifies for protection, the Producing Party also must clearly identify the protected
 6     portion(s) (e.g., by making appropriate markings in the margins).
 7           (b) for testimony given in depositions that the Designating Party identify the
 8     Disclosure or Discovery Material on the record, before the close of the deposition all
 9     protected testimony.
10           (c) for information produced in some form other than documentary and for any other
11     tangible items, that the Producing Party affix in a prominent place on the exterior of the
12     container or containers in which the information is stored the legend “CONFIDENTIAL.”
13     If only a portion or portions of the information warrants protection, the Producing Party,
14     to the extent practicable, shall identify the protected portion(s).
15           (d) a non-Producing Party may request confidential treatment of documents, items,
16     and/or information produced by another Party or Non-Party when the produced material
17     contains the non-Producing Party’s confidential information.
18                  5.3     Inadvertent Failures to Designate. If timely corrected, an inadvertent
19     failure to designate qualified information or items does not, standing alone, waive the
20     Designating Party’s right to secure protection under this Order for such material. Upon
21     timely correction of a designation, the Receiving Party must make reasonable efforts to
22     assure that the material is treated in accordance with the provisions of this Order.
23          6.     CHALLENGING CONFIDENTIALITY DESIGNATIONS
24                  6.1     Timing of Challenges. Any Party or Non-Party may challenge a
25     designation of confidentiality at any time that is consistent with the Court’s Scheduling
26     Order.
27                  6.2     Meet and Confer. The Challenging Party Shall initiate the dispute
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 1     resolution process under Civil Local Rule 37-1 et seq.
 2                   6.3    The burden of persuasion in any such challenge proceeding shall be
 3     on the Designating Party. Frivolous challenges, and those made for an improper purpose
 4     (e.g., to harass or impose unnecessary expenses and burdens on other parties), may expose
 5     the Challenging Party to sanctions. Unless the Designating Party has waived or withdrawn
 6     the confidentiality designation, all parties shall continue to afford the material in question
 7     the level of protection to which it is entitled under the Producing Party’s designation until
 8     the Court rules on the challenge.
 9           7.      ACCESS TO AND USE OF PROTECTED MATERIAL
10                   7.1    Basic Principles. A Receiving Party may use Protected Material that
11     is disclosed or produced by another Party or by a Non-Party in connection with this Action
12     only for prosecuting, defending, or attempting to settle this Action. Such Protected
13     Material may be disclosed only to the categories of persons and under the conditions
14     described in this Order. When the Action has been terminated, a Receiving Party must
15     comply with the provisions of Section 13 below (FINAL DISPOSITION).
16           Protected Material must be stored and maintained by a Receiving Party at a location
17     and in a secure manner that ensures that access is limited to the persons authorized under
18     this Order.
19                   7.2    Disclosure of “CONFIDENTIAL” Information or Items. Unless
20           otherwise ordered by the Court or permitted in writing by the Designating Party, a
21     Receiving Party may disclose any information or item designated “CONFIDENTIAL”
22     only to:
23           (a) the Receiving Party’s Outside Counsel of Record in this Action, as well as
24     employees of said Outside Counsel of Record to whom it is reasonably necessary to
25     disclose the information for this Action;
26           (b) the officers, directors, and employees (including House Counsel) of the
27     Receiving Party to whom disclosure is reasonably necessary for this Action;
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 1           (c) Experts (as defined in this Order) of the Receiving Party to whom disclosure is
 2     reasonably necessary for this Action and who have signed the “Acknowledgment and
 3     Agreement to Be Bound” (Exhibit A);
 4           (d) the Court and its personnel;
 5           (e) court reporters and their staff;
 6           (f) professional jury or trial consultants, mock jurors, and Professional Vendors to
 7     whom disclosure is reasonably necessary for this Action and who have signed the
 8     “Acknowledgment and Agreement to Be Bound” (Exhibit A);
 9           (g) the author or recipient of a document containing the information or a custodian
10     or other person who otherwise possessed or knew the information;
11           (h) during their depositions, witnesses, and attorneys for witnesses, in the Action to
12     whom disclosure is reasonably necessary provided: (1) the deposing party requests that
13     the witness sign the form attached as Exhibit A hereto; and (2) they will not be permitted
14     to keep any confidential information unless they sign the “Acknowledgment and
15     Agreement to Be Bound” (Exhibit A), unless otherwise agreed by the Designating Party
16     or ordered by the Court. Pages of transcribed deposition testimony or exhibits to
17     depositions that reveal Protected Material may be separately bound by the court reporter
18     and may not be disclosed to anyone except as permitted under this Stipulated Protective
19     Order; and
20           (i) any mediator or settlement officer, and their supporting personnel, mutually
21     agreed upon by any of the parties engaged in settlement discussions.
22           8.     PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED
23     IN OTHER LITIGATION
24           If a Party is served with a subpoena or a court order issued in other litigation that
25     compels disclosure of any information or items designated in this Action as
26     “CONFIDENTIAL,” that Party must:
27           (a) promptly notify in writing the Designating Party. Such notification shall include
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 1   a copy of the subpoena or court order;
 2            (b) promptly notify in writing the party who caused the subpoena or order to issue
 3   in the other litigation that some or all of the material covered by the subpoena or order is
 4   subject to this Protective Order. Such notification shall include a copy of this Stipulated
 5   Protective Order; and
 6            (c) cooperate with respect to all reasonable procedures sought to be pursued by the
 7   Designating Party whose Protected Material may be affected.
 8            If the Designating Party timely seeks a protective order, the Party served with the
 9   subpoena or court order shall not produce any information designated in this action as
10   “CONFIDENTIAL” before a determination by the court from which the subpoena or order
11   issued, unless the Party has obtained the Designating Party’s permission. The Designating
12   Party shall bear the burden and expense of seeking protection in that court of its
13   confidential material, and nothing in these provisions should be construed as authorizing
14   or encouraging a Receiving Party in this Action to disobey a lawful directive from another
15   court.
16            9.   A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE
17   PRODUCED IN THIS LITIGATION
18            (a) The terms of this Order are applicable to information produced by a Non-Party
19   in this Action and designated as “CONFIDENTIAL.” Such information produced by
20   Non-Parties in connection with this litigation is protected by the remedies and relief
21   provided by this Order. Nothing in these provisions should be construed as prohibiting a
22   Non-Party from seeking additional protections.
23            (b) In the event that a Party is required, by a valid discovery request, to produce a
24   Non-Party’s confidential information in its possession, and the Party is subject to an
25   agreement with the Non-Party not to produce the Non-Party’s confidential information,
26   then the Party shall:
27            (1) promptly notify in writing the Requesting Party and the Non-Party that some or
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 1   all of the information requested is subject to a confidentiality agreement with a Non-Party;
 2         (2) promptly provide the Non-Party with a copy of the Stipulated Protective Order
 3   in this Action, the relevant discovery request(s), and a reasonably specific description of
 4   the information requested; and
 5         (3) make the information requested available for inspection by the Non-Party, if
 6   requested.
 7         (c) If the Non-Party fails to seek a protective order from this Court within 14 days
 8   of receiving the notice and accompanying information, the Receiving Party may produce
 9   the Non-Party’s confidential information responsive to the discovery request. If the Non-
10   Party timely seeks a protective order, the Receiving Party shall not produce any
11   information in its possession or control that is subject to the confidentiality agreement
12   with the Non-Party before a determination by the Court. Absent a court order to the
13   contrary, the Non-Party shall bear the burden and expense of seeking protection in this
14   Court of its Protected Material.
15         10. UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
16         If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed
17   Protected Material to any person or in any circumstance not authorized under this
18   Stipulated Protective Order, the Receiving Party must immediately (a) notify in writing
19   the Designating Party of the unauthorized disclosures, (b) use its best efforts to retrieve
20   all unauthorized copies of the Protected Material, (c) inform the person or persons to
21   whom unauthorized disclosures were made of all the terms of this Order, and (d) request
22   such person or persons to execute the “Acknowledgment and Agreement to Be Bound”
23   that is attached hereto as Exhibit A.
24         11. INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
25   PROTECTED MATERIAL
26         When a Producing Party gives notice to Receiving Parties that certain inadvertently
27   produced material is subject to a claim of privilege or other protection, the obligations of
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 1   the Receiving Parties are those set forth in Federal Rule of Civil Procedure 26(b)(5)(B).
 2   This provision is not intended to modify whatever procedure may be established in an e-
 3   discovery order that provides for production without prior privilege review. Pursuant to
 4   Federal Rule of Evidence 502(d) and (e), insofar as the Parties reach an agreement on the
 5   effect of disclosure of a communication or information covered by the attorney-client
 6   privilege or work product protection, the Parties may incorporate their agreement in the
 7   stipulated protective order submitted to the Court.
 8         12. MISCELLANEOUS
 9                12.1    Right to Relief. Nothing in this Order abridges the right of any person
10   to seek its modification by the Court in the future.
11                12.2    Right to Assert Other Objections. By stipulating to the entry of this
12   Protective Order, no Party waives any right it otherwise would have to object to disclosing
13   or producing any information or item on any ground not addressed in this Stipulated
14   Protective Order. Similarly, no Party waives any right to object on any ground to use in
15   evidence of any of the material covered by this Protective Order.
16                12.3    Filing Protected Material. A Party that seeks to file under seal any
17   Protected Material must comply with Civil Local Rule 79-5. Protected Material may only
18   be filed under seal pursuant to a court order authorizing the sealing of the specific
19   Protected Material at issue. If a Party’s request to file Protected Material under seal is
20   denied by the court, then the Receiving Party may file the information in the public record
21   unless otherwise instructed by the court.
22         13. FINAL DISPOSITION
23         After the final disposition of this Action, as defined in Section 4 (DURATION),
24   within 60 days of a written request by the Designating Party, each Receiving Party must
25   return all Protected Material to the Producing Party or destroy such material. As used in
26   this subdivision, “all Protected Material” includes all copies, abstracts, compilations,
27   summaries, and any other format reproducing or capturing any of the Protected Material.
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 1   Whether the Protected Material is returned or destroyed, the Receiving Party must submit
 2   a written certification to the Producing Party (and, if not the same person or entity, to the
 3   Designating Party) by the 60 day deadline that (1) identifies (by category, where
 4   appropriate) all the Protected Material that was returned or destroyed; and (2) affirms that
 5   the Receiving Party has not retained any copies, abstracts, compilations, summaries, or
 6   any other format reproducing or capturing any of the Protected Material. Notwithstanding
 7   this provision, Counsel are entitled to retain an archival copy of all pleadings, motion
 8   papers, trial, deposition, and hearing transcripts, legal memoranda, correspondence,
 9   deposition and trial exhibits, expert reports, attorney work product, and consultant and
10   expert work product, even if such materials contain Protected Material. Any such archival
11   copies that contain or constitute Protected Material remain subject to this Protective Order
12   as set forth in Section 4 (DURATION).
13         14. Any violation of this Order may be punished by any and all appropriate
14   measures including, without limitation, contempt proceedings and/or monetary sanctions.
15
16   IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
17
18   DATED: January 30, 2025         SCOTT+SCOTT ATTORNEYS AT LAW LLP
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     DATED: January 30, 2025        COHEN WILLIAMS LLP
17                                  s/ Michael Schafler
                                    Michael V. Schafler
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24
                                    Counsel for Defendant Jona Rechnitz
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28
      STIPULATED PROTECTIVE ORDER           15               Case No. 2:22-cv-00163-MWF-SK
     Case 2:22-cv-00163-MWF-SK   Document 238 Filed 01/31/25   Page 16 of 18 Page ID
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 1    FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
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 4           1/31/2025
      DATED:____________                 ____________________________________
                                         Honorable Steve Kim
 5
                                         United States Magistrate Judge
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        STIPULATED PROTECTIVE ORDER                       Case No. 2:22-cv-00163-MWF-SK
     Case 2:22-cv-00163-MWF-SK      Document 238 Filed 01/31/25         Page 17 of 18 Page ID
                                           #:3112



 1                                            EXHIBIT A
 2          ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
 3          I,   _____________________________            [print   or    type     full   name],    of
 4    _________________ [print or type full address], declare under penalty of perjury that I
 5    have read in its entirety and understand the Stipulated Protective Order that was issued by
 6    the United States District Court for the Central District of California on ___ in the case of
 7    In re EthereumMax Investor Litigation (Case Number 2:22-cv-00163-MWF-SK), I agree
 8    to comply with and to be bound by all the terms of this Stipulated Protective Order, and I
 9    understand and acknowledge that failure to so comply could expose me to sanctions and
10    punishment in the nature of contempt. I solemnly promise that I will not disclose in any
11    manner any information or item that is subject to this Stipulated Protective Order to any
12    person or entity except in strict compliance with the provisions of this Order.
13          I further agree to submit to the jurisdiction of the United States District Court for the
14    Central District of California for the purpose of enforcing the terms of this Stipulated
15    Protective Order, even if such enforcement proceedings occur after termination of this
16    action. I hereby appoint __________________________ [print or type full name] of
17    _______________________________________ [print or type full address and telephone
18    number] as my California agent for service of process in connection with this action or any
19    proceedings related to enforcement of this Stipulated Protective Order.
20    Date: ______________________________________
21    City and State where sworn and signed:_________________________________
22
23    Printed name: _______________________________
24
25    Signature: ________________________________
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        STIPULATED PROTECTIVE ORDER                                Case No. 2:22-cv-00163-MWF-SK
     Case 2:22-cv-00163-MWF-SK        Document 238 Filed 01/31/25       Page 18 of 18 Page ID
                                             #:3113



 1                                          ATTESTATION
 2            I, John T. Jasnoch, hereby attest that all other signatories listed above and on
 3    whose behalf this filing is submitted concur in this filing’s content and have authorized
 4    me to file on their behalf.
 5                                                     /s/ John T. Jasnoch
 6                                                     John T. Jasnoch

 7
 8
                                    CERTIFICATE OF SERVICE
 9
              I, John T. Jasnoch, hereby certify that on January 30, 2025, I caused the foregoing
10
      to be filed with the Clerk of the Court using the CM/ECF system, which will send
11
      notification of such filing to the email addresses denoted on the Electronic Mail Notice
12
      List.
13
              Executed on January 30, 2025, at San Diego, California.
14
15                                                     /s/ John T. Jasnoch
16                                                     John T. Jasnoch

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        STIPULATED PROTECTIVE ORDER                                Case No. 2:22-cv-00163-MWF-SK
